                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       NO. 3:10-00258
                                                     )       JUDGE CAMPBELL
MIGUEL PADILLA                                       )


                                             ORDER

        Pending before the Court is an Unopposed Motion for Extension of Time to Respond

(Docket No. 364). The Motion is GRANTED.

        The Government shall have until August 22, 2012, to file its response to Defendant’s Motion

for Exculpatory Evidence and Motion to Dismiss Superseding Indictment (Docket Nos. 335 and

340).

        It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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